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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
John A. Morris (NY Bar No. 2405397) (admitted pro hac vice)
Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                                )
    In re:                                                      )    Chapter 11
                                                                )
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                        )    Case No. 19-34054-sgj11
                                                                )
                                    Reorganized Debtor.         )
                                                                )

        APPENDIX IN SUPPORT OF HIGHLAND’S OBJECTION TO RENEWED
      MOTION TO RECUSE PURSUANT TO 28 U.S.C. § 455 AND BRIEF IN SUPPORT




1
  The Reorganized Debtor’s last four digits of its taxpayer identification number are (8357). The headquarters and
service address for the Reorganized Debtor is 100 Crescent Court, Suite 1850, Dallas, TX 75201.


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Ex.                                       Description                                        Appx. #

         Order affirming Bankruptcy Court’s Contempt Order, Case No. 3:21-cv-01590-N,
1.                                                                                            1-14
         Docket No. 42 (N.D. Tex. August 17, 2022)

2.       Transcript of August 31, 2022 Hearing                                                15-42

3.       RESERVED                                                                             43-76

4.       RESERVED                                                                            77-183

         Answering Brief of Appellee Highland Capital Management, L.P., Case No. 3:21-
5.                                                                                           184-244
         cv-00879-K, Docket No. 20 (N.D. Tex. July 28, 2021)
         Appendix in Support of Answering Brief of Appellee Highland Capital
6.       Management, L.P. Brief, Case No. 3:21-cv-00879-K, Docket No. 21 (N.D. Tex.         245-2048
         July 28, 2021)
         Appellants’ Response to Debtor’s Motion for Leave to Intervene in Appeal of
7.       Recusal Order, Case No. 3:21-cv-00879-K, Docket No. 5 (N.D. Tex. May 17,           2049-2064
         2021)
         Order on Debtor’s Motion for Leave to Intervene in Appeal of Recusal Order, Case
8.                                                                                          2065-2068
         No. 3:21-cv-00879-K, Docket No. 10 (N.D. Tex. June 10, 2021)
         Memorandum Opinion and Order, Case No. 3:21-cv-00879-K, Docket No. 28
9.                                                                                          2069-2073
         (N.D. Tex. December 10, 2021)

         Appellants' Response to the Court's December 10, 2021 Memorandum Opinion and
10.                                                                                         2074-2084
         Order, Case No. 3:21-cv-00879-K, Docket No. 29 (N.D. Tex. December 15, 2021)
         Debtor's Response to Appellants' Brief Regarding the Court's December 10, 2021
11.      Memorandum Opinion and Order, Case No. 3:21-cv-00879-K, Docket No. 31              2085-2097
         (N.D. Tex. December 20, 2021)
         Memorandum Opinion and Order, Case No. 3:21-cv-00879-K, Docket No. 39
12.                                                                                         2098-2112
         (N.D. Tex. February 9, 2022)
         Partial Final Award, Redeemer Committee of the Highland Crusader Fund v.
13.                                                                                         2113-2175
         Highland Capital Management, L.P., Case No. 01-16-0002-6927 (March 6, 2019)

         Final Award, Redeemer Committee of the Highland Crusader Fund v. Highland
14.                                                                                         2176-2199
         Capital Management, L.P., Case No. 01-16-0002-6927 (April 29, 2019)

         May 17, 2019 Transcript, Daugherty v. Highland Capital Management, L.P., C.A.
15.                                                                                         2200-2297
         No. 2018-0488-MTZ (Del. Ch. May 17, 2019)

         Order Denying Application to Certify Interlocutory Appeal, C.A. No. 2018-0488-
16.                                                                                         2298-2311
         MTZ (Del. Ch. July 8, 2019)



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Ex.                                        Description                                         Appx. #
        Order Denying Alleged Debtors’ Joint Motion to Dismiss the Involuntary Petitions
        Filed by Joshua N. Terry For Lack of Subject Matter Jurisdiction or, Alternatively,
17.                                                                                           2312-2316
        to Compel Arbitration, Case No. 18-30264-sgj11, Docket No. 75 (Bankr. N.D. Tex.
        Mar. 20, 2018)
        Findings of Fact, Conclusions of Law, and Order Granting Final Approval of
        Disclosure Statement and Confirming the Third Amended Joint Plan for Acis
18.                                                                                           2317-2546
        Capital Management, L.P. and Acis Capital Management GP, LLC, as Modified,
        Case No. 18-30264-sgj11, Docket No. 829 (Bankr. N.D. Tex. Jan. 31, 2019)
        Opinion affirming Confirmation Order, Case No. 3:19-cv-00291-D, Docket No. 75
19.                                                                                           2547-2631
        (N.D. Tex. July 18, 2019)
        Opinion affirming Confirmation Order, Case No. 19-10847 (5th Cir. June 17,
20.                                                                                           2632-2636
        2021)
        Motion for an Order Transferring Venue of this Case to the United States
21.     Bankruptcy Court for the Northern District of Texas, Case No. 19-12239 (CSS),         2637-2796
        Docket No. 86 (Bankr. D. Del. Nov. 11, 2019)

22.     Transcript of December 2, 2019 hearing (Bankr. D. Del. December 2, 2019)              2797-2935

23.     Transcript of January 9, 2020 hearing                                                 2936-3027

24.     Transcript of February 19, 2020 hearing                                               3028-3216

25.     Transcript of March 4, 2020 hearing                                                   3217-3338

26.     Transcript of December 16, 2020 hearing                                               3339-3405

27.     Letter from K&L Gates dated December 22, 2020                                         3406-3409

28.     Letter from K&L Gates dated December 23, 2020                                         3410-3413

29.     Transcript of January 26, 2021 hearing                                                3414-3671

30.     Transcript of February 8, 2021 Bench Ruling on Confirmation Hearing                   3672-3723
        Transcript of January 8, 2021 hearing, Adversary Proc. No. 20-03190-sgj (Bankr.
31.                                                                                           3724-3929
        N.D. Tex. January 8, 2021)
32.     Transcript of May 20, 2021 hearing                                                    3930-4016
        Memorandum Opinion and Order, Case No. 21-cv-03129-B, Docket No. 28 (N.D.
33.                                                                                           4017-4038
        Tex. Sep. 2, 2022)




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Ex.                                      Description                                     Appx. #
        Debtor’s Amended Witness and Exhibit List With Respect to Evidentiary Hearing
34.                                                                                     4039-4102
        to be Held on June 8, 2021 [Docket No. 2421]
35.     Transcript of September 12, 2022 hearing                                        4103-4164

36.     Chart re: Matters Awaiting Final Judgment                                       4165-4169


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 Dated: October 31, 2022                PACHULSKI STANG ZIEHL & JONES LLP

                                        Jeffrey N. Pomerantz (CA Bar No. 143717)
                                        John A. Morris (NY Bar No. 2405397)
                                        Gregory V. Demo (NY Bar No. 5371992)
                                        Hayley R. Winograd (NY Bar No. 5612569)
                                        10100 Santa Monica Blvd., 13th Floor
                                        Los Angeles, CA 90067
                                        Telephone: (310) 277-6910
                                        Facsimile: (310) 201-0760
                                        Email: jpomerantz@pszjlaw.com
                                                jmorris@pszjlaw.com
                                                gdemo@pszjlaw.com
                                                hwinograd@pszjlaw.com

                                        -and-

                                        HAYWARD PLLC


                                        /s/ Zachery Z. Annable
                                        Melissa S. Hayward
                                        Texas Bar No. 24044908
                                        MHayward@HaywardFirm.com
                                        Zachery Z. Annable
                                        Texas Bar No. 24053075
                                        ZAnnable@HaywardFirm.com
                                        10501 N. Central Expy, Ste. 106
                                        Dallas, Texas 75231
                                        Tel: (972) 755-7100
                                        Fax: (972) 755-7110

                                        Counsel for Highland Capital Management, L.P.




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